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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number: 20-CR-20022
v.
                                                              Honorable Thomas L. Ludington
TERRI JEROME ERVIN,                                           Magistrate Judge Patricia T. Morris

                  Defendant.
_______________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On September 23, 2020, United States Magistrate Judge Patricia T. Morris conducted a

plea hearing pursuant to Defendant Ervin’s consent. ECF No. 15. Magistrate Judge Morris issued

her report on September 29, 2020, recommending that this Court accept Defendant’s plea of guilty.

ECF No. 21.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action could

object to and seek review of the recommendation within fourteen days of service of the report,

neither Plaintiff nor Defendant filed any objections. The failure to file objections waives any right

to appeal the Magistrate Judge’s findings that Defendant was competent to enter a plea, and that

the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact. See Fed.

R. Crim. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the Magistrate Judge’s Report and Recommendation,

ECF No. 21, is ADOPTED.
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      It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 19, is taken UNDER ADVISEMENT.




Dated: October 20, 2020                              s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
